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 GENOVA BURNS LLC
 Peter F. Berk- 018592000
 494 Broad Street
 Newark, New Jersey 07102
 TEL: (973) 533-0777
 FAX: (973) 533-1112
 Attorneys for Defendant,
 American Eagle Express, Inc. d/b/a AEXGroup

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


 EVER BEDOYA, DIEGO GONZALES, and
 MANUEL DeCASTRO, on behalf of themselves            Case No.: 2:14-cv-02811
 and all others similarly situated,
                                                     ORDER FOR PRO HAC VICE
                                 Plaintiff,          ADMISSION

 v.

 AMERICAN EAGLE EXPRESS, INC. d/b/a
 AEXGroup.,

                                 Defendants.


         THIS MATTER having come before the Court upon the application of Peter F. Berk,

 Esq., attorney for the Defendants, for the pro hac vice admission of Andrew Butcher, Esq.,

 pursuant to L. Civ. R. 101.1; and the Plaintiff having consented to this application; and for

 good cause shown;

         IT IS on this 14th day of February, 2023,

         ORDERED that Andrew Butcher, Esq. (“counsel”), be permitted to appear pro hac

 vice in this matter; and it is further
Case
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          ORDERED that counsel shall abide by all rules of this Court, including all disciplinary

 rules, and shall notify the Court immediately of any matter affecting counsel’s standing at the

 bar of any court; and it is further

          ORDERED that Peter F. Berk, Esq. shall (a) be attorney of record in this case in

 accordance with Local Civ. R. 101.1(c); (b) be served all papers in this action and such service

 shall be deemed sufficient service upon counsel; (c) sign (or arrange for a member of the firm

 admitted to practice in New Jersey to sign) all pleadings, briefs and other papers submitted to

 this Court; (d) appear at all proceedings; and (e) be responsible for the conduct of the case and

 counsel in this matter; and it is further

          ORDERED that counsel shall make payments to the New Jersey Lawyer’s Fund for

 Client Protection, pursuant to N.J. Court Rule 1:28-2, for each year in which counsel

 represents the client in this matter; and it is further

          ORDERED that counsel shall pay $150.00 to the Clerk of the United States District

 Court for the District of New Jersey for admission pro hac vice in Accordance with Local Civ.

 R. 101.1(c)(3).


 Date: February 14, 2023                                   s/Jessica S. Allen
                                                           Honorable Jessica Allen
                                                           United States Magistrate Judge




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